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                           EXHIBIT “B”
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                         :      CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC, :                    BANKRUPTCY NO. 22-10609 (AMC)

                        Debtor.                :


              DECLARATION OF ROBERT M. GREENBAUM IN SUPPORT OF
               THE OBJECTION OF SCUNGIO BORST & ASSOCIATES LLC
                        TO PROOF OF CLAIM NO. 19 FILED
                   BY ANI & JOE ABATEMENT & DEMOLITION LLC

STATE OF PENNSYLVANIA                  )

COUNTY OF PHILADELPHIA                 )

I, Robert M. Greenbaum, being duly sworn, hereby depose and say:

         1.     lam over 18 years of age. I am fully competent to make this declaration. I have

personal knowledge of the facts stated in this declaration and the Objection of Scungio Borst &

Associates LLC to Proof of Claim No. 19 filed by Ani & Joe Abatement & Demolition LLC (the

“Objection”).

         2.     lam competent and qualified to make this declaration pursuant to 28 U.S.C. § 1746.

I declare under penalty of perjury that the foregoing is true and correct.

         3.     I am of counsel at Karalis PC which firm has been retained as bankruptcy counsel

to Scungio Borst & Associates, LLC (the “Debtor”).

         4.     As Debtor’s counsel, I reviewed the Debtor’s schedules, Proof of Claim No. 19

filed by Ani & Joe Abatement & Demolition LLC, and the claims register maintained by the

Clerk’s Office for the United States Bankruptcy Court for the Eastern District of Pennsylvania

prior to preparing and filing the Objection with the Court.
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       5.      All of the facts and averments set forth in the Objection are true and correct and I

offer these facts and averments in support of the Objection.


                                             Isl Robert M. Greenbaum
                                             Robert M. Greenbaum, Esquire
                                             Counsel to the Debtor

Dated: February 9, 2024




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